                  Case 2:20-cv-01097-MJP Document 27 Filed 10/21/20 Page 1 of 2




 1                                                     THE HONORABLE MARSHA J. PECHMAN

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 7
                                      UNITED STATES DISTRICT COURT
 8                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 9
     STANDARD INSURANCE COMPANY, an
10   Oregon Insurance Company,                      Case No. 20-cv-01097-MJP

11                              Plaintiff,          ORDER GRANTING PLAINTIFF’S
                                                    MOTION FOR LEAVE TO FILE OVER-
12                 v.                               LENGTH BRIEF

13   SEATTLE SCHOOL DISTRICT NO. 1, a
     Washington Municipal Corporation,
14
                                Defendant.
15

16           THIS MATTER came before the court on Plaintiff’s Motion for Leave to File Over-length

17   Brief, and the Court having examined the records and files herein and being fully advised in the

18   premises; now,

19           IT IS HEREBY ORDERED THAT Plaintiff’s Motion for Leave to File Over-length Brief is

20   GRANTED, and that Plaintiff’s Response to Defendant’s Motion to Stay may not exceed 15 pages

21   in length.
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23   //

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25   ORDER GRANTING                                               GORDON REES SCULLY
     PLAINTIFF’S MOTION FOR LEAVE TO                              MANSUKHANI, LLP
     FILE OVER-LENGTH BRIEF - 1                                   701 5th Avenue, Suite 2100
     Case No. 20-cv-01097-MJP                                     Seattle, WA 98104
                                                                  Telephone: (206) 695-5100
                                                                  Facsimile: (206) 689-2822
               Case 2:20-cv-01097-MJP Document 27 Filed 10/21/20 Page 2 of 2




 1           DATED this 21st day of October, 2020.

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 4
                                                     A
                                                     Marsha J. Pechman
                                                     United States District Judge
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 6
     Presented by:
 7
     GORDON REES SCULLY MANSUKHANI, LLP
 8
     By: s/Shannon L. Wodnik
 9      Jordan Altura, Pro Hac Vice Admitted
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25   ORDER GRANTING                                             GORDON REES SCULLY
     PLAINTIFF’S MOTION FOR LEAVE TO                            MANSUKHANI, LLP
     FILE OVER-LENGTH BRIEF - 2                                 701 5th Avenue, Suite 2100
     Case No. 20-cv-01097-MJP                                   Seattle, WA 98104
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